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              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF COLUMBIA

                                     )
WILMER GARCIA RAMIREZ, et al.,       )
                                     )
                 Plaintiffs,         )
                                     )
     v.                              ) Civil Action No. 1:18-cv-00508-RC
                                     )
UNITED STATES IMMIGRATION AND        )
CUSTOMS ENFORCEMENT, et al.,         )
                                     )
                 Defendants.         )
                                     )

 DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ PROPOSED PERMANENT
        INJUNCTION, AND SUPPORTING MEMORANDUM
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                                   INTRODUCTION

       It has been one year since this Court issued its July 2, 2020 Decision, ECF No. 333,

and over 16 months since Defendants proposed remedies should this Court find non-

compliance with 8 U.S.C. § 1232(c)(2)(B), ECF No. 267. In that time, Defendants have

complied with § 1232(c)(2)(B) by completing Age-Out Review Worksheets (“AORWs”)

8/19, providing enhanced U.S. Immigration and Customs Enforcement (“ICE”)

Headquarters oversight, and providing Age-Out data to Plaintiffs to ensure transparency.

Compliance is evidenced by the Fiscal Year (“FY”) data filed herewith and the fact that

Plaintiffs have not raised any compliance issues with this Court in the 18 months since

Defendants began to share Age-Out data post-trial (January 2020). Despite this evidence,

Plaintiffs now seek a permanent injunction that places unnecessary burdens on Defendants

and improperly vitiates Defendants’ discretion. Instead, Defendants ask this Court to

remand for implementation of the proper remedy, consistent with this Court’s July 2, 2020

Decision, which Defendants present in their Proposed Final Judgment and Remand. See

Ex. A. Any order beyond this exceeds the scope of the Administrative Procedure Act

(“APA”).

                                   BACKGROUND

I.     Findings of Fact and Conclusions of Law

       Between December 2019 and January 2020, the Court held a five-week trial to

determine whether Defendant ICE acted arbitrarily and capriciously, abused its discretion,

or violated the law when deciding whether to detain adults who had aged-out of Health and

Human Services (“HHS”) Office of Refugee Resettlement (“ORR”) custody, and whether

ICE unlawfully withheld or unreasonably delayed compliance with § 1232(c)(2)(B) when
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deciding whether to detain such adults. The Court ordered the parties to submit proposed

findings of fact, conclusions of law, and proposed remedies. Min. Order (Jan. 16, 2020).

On February 18, 2020, Defendants submitted proposed remedies in the event this Court

determined liability under § 1232(c)(2)(B). ECF No. 267. On July 2, 2020, the Court issued

findings of fact and conclusions of law. ECF No. 333.

   II.      Post-trial Developments

         Number of Age-Outs Detained – Conditions have changed since the parties

submitted their proposed remedies over 16 months ago. ECF No. 267. Since May 2020,

ICE has made 947 Age-Out custody determinations and detained ten Age-Outs, reflecting

a 99% release rate. See FY data, ICE POST TRIAL 9564-65, attached as Ex. B.

Specifically, in the current fiscal year, ICE made 847 Age-Out custody determinations and

detained only four Age-Outs, id., reflecting over a 99.5% release rate, thus far.

         Age-Out Review Worksheet – ICE continues to use the AORW 8/19. ECF No.

203-2. The parties also agreed upon training slides, outlining the use of the proposed,

revised AORW. ECF No. 345-1. Plaintiffs agree that Defendants’ proposed, revised

AORW, ECF No. 345-3, should be used, but asked to limit its use for a trial period of six

months, after which the parties will meet and confer “concerning any revisions.” ECF No.

359 at 3; see ECF No. 345-3. The parties have filed motions regarding the competing

AORWs. See ECF Nos. 345, 347, and 351.

         Training – On November 19, 2020, the parties agreed on two new PowerPoint

training presentations. ECF No. 345-1. The first provides an overview of the requirements

of § 1232(c)(2)(B), this Court’s July 2, 2020 decision, and describes how Age-Out

placement determinations should be made in compliance with the statute and this Court’s




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July 2, 2020 decision. ECF No. 345-1. The second provides an overview of ICE’s

Alternative to Detention program and ICE bonds. ECF No. 345-2. The parties have

finalized these presentations. Defendants have not yet provided training to the field using

these materials, however. As part of a remand to the agency, Defendants intend to use these

materials to train Field Office Juvenile Coordinators (“FOJCs”) and their supervisors on

their statutory duties under § 1232(c)(2)(B). Training will include providing the materials

online, providing virtual trainings, and—pandemic conditions permitting—providing an

in-person training conference in the near future. Indeed, as part of its remedy on remand,

Defendants intend to include the agreed-upon training materials and guidance in the ICE

FOJC Handbook. See Ex. 1 to Ex. A, FOJC Handbook.1 ICE also intends to post the FOJC

Handbook on ICE’s internal website, which is accessible to all FOJCs. Accordingly, the

Court should permit Defendants to implement these changes on remand.

       Compliance Checks - As agreed by the parties, the Juvenile and Family

Residential Management Unit (“JFRMU”) provides additional compliance checks. Since

trial, Plaintiffs have alleged no instances of noncompliance with § 1232(c)(2)(B).

       Proposed Improvements - Defendants propose the following improvements to

existing processes: (A) provide the field with an updated version of their AORW, which

mirrors the parties’ agreed training slides and guidance, Ex. C, Defs’ Prop. Revised

AORW, ECF No. 345-3; (B) use, and train FOJCs with, the materials agreed upon by the

parties; (C) continue to provide Age-Out data to Plaintiffs; and, (D) consider any




1
       ICE will still need to officially finalize the FOJC Handbook on remand by inputting
additional hyperlinks, pictures, and other media. However, the attached FOJC Handbook
represents the substance of the materials ICE intends to implement on remand.


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organizational sponsors proposed by Plaintiffs, and independently work to update its

National Age-Out Shelter List every six months. See Ex. A

         Reporting - On November 19, 2020, the parties agreed, ECF No. 345, that ICE

would provide the following information to Plaintiffs on a monthly basis, on or before the

15th day of the following month, except as noted below:

        Copies of AORWs and all SharePoint materials for each Age-Out during the month.
         Absent unforeseen or unusual circumstances beyond ICE’s control, such
         worksheets and materials shall be provided on or before the 15th of the following
         month, with the exception of Age-Outs that are subsequently identified as a result
         of ICE’s monthly reconciliation of its list of Age-Outs with ORRs, for which
         worksheets and SharePoint materials shall be provided as soon as reasonably
         possible after they are identified.

        A spreadsheet summary that shows, by field office (or sub-office in the case of
         Harlingen): the name and “A” number of each Age-Out during that month; and
         whether the Age-Out was detained or released.

        A monthly spreadsheet summary that reports, by field office (or sub-office in the
         case of Harlingen), and for JFRMU overall, the total numbers and percentages of
         Age-Outs that were released and detained: in every prior month during the current
         fiscal year; in the current month; and year-to-date during the current fiscal year.

    In April 2021, ICE made 265 Age-Out custody determinations to release on an order

of recognizance (“OREC”). 2 Ex. B at 2. In May 2021, ICE made 206 Age-Out custody
                             0F




determinations to release on an OREC. Id. Defendants’ proposed order for remand

continues to include the above data-sharing with Plaintiffs.

         Nationwide Age-Out Shelter List – As Plaintiffs note, the parties developed a

Nationwide Age-Out Shelter List that FOJCs may utilize when making custody

determinations and determining which organizational sponsors are available to Age-Outs.




2
         Each month ICE also reconciles its data with information voluntarily provided by
ORR.


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       Plaintiffs’ Motion for Entry of a Final Judgment and Permanent Injunction –

On June 11, 2021, Plaintiffs asked the Court to enter a permanent injunction and provided

the judgment that they seek the Court to enter. ECF Nos. 359 & 359-1.

                               LEGAL BACKGROUND

I.     Remedies under the APA

       The remedies available under the APA are limited. The district court may compel

unlawfully withheld agency action or set aside a final agency action that is arbitrary,

capricious, or contrary to law. See ECF No. 50 at 44-45 (citing 5 U.S.C. § 706). A

“[r]eviewing court is ‘generally not free to impose’ additional judge-made procedural

requirements on agencies that Congress has not prescribed and the Constitution does not

compel.” Garland v. Ming Dai, 141 S. Ct. 1669 (2021) (quoting Vermont Yankee Nuclear

Power Corp. v. Natural Resources Defense Council, Inc., 435 U. S. 519, 524 (1978)). As

this Court has recognized, the APA permits remand to the agency to decide the proper

remedy, and not an injunction compelling the agency to take a specific action. See Am.

Hosp. Ass’n v. Azar, 385 F. Supp. 3d 1, 11 (D.D.C. 2019), judgment entered, No. CV 18-

2084 (RC), 2019 WL 3037306 (D.D.C. July 10, 2019), rev’d on other grounds, 967 F.3d

818 (D.C. Cir. 2020) (“when a plaintiff brings an APA claim ‘to set aside unlawful agency

action . . . it is the prerogative of the agency to decide in the first instance how best to

provide relief.’”) (Contreras, J.) (quoting Bennett v. Donovan, 703 F.3d 582, 589 (D.C. Cir.

2013)); see also Berge v. United States, 949 F. Supp. 2d 36, 42 (D.D.C. 2013) (“[U]nder

settled principles of administrative law, when a court reviewing agency action determines

that an agency made an error of law, the court's inquiry is at an end: the case must be

remanded to the agency for further action consistent with the corrected legal standards.”)




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(emphasis added); Baptist Med. Ctr. v. Burwell, 2019 WL 978957, at *9 (D.D.C. Feb. 28,

2019) (adopting Magistrate Harvey’s R&R to remand to the agency for remedy where

agency’s prior action was made “under an inconsistent interpretation of a statutory

provision” to avoid judicial intervention into agency prerogatives). “Injunctive relief [in

APA cases] is typically appropriate when ‘there is only one rational course for the agency

to follow on remand.’” Azar, 385 F. Supp. at 11 (quoting Berge, 949 F. Supp. at 43).

II.     Enforcement of Judgments

        “District courts have the authority to enforce the terms of their mandates[,]”

Flaherty v. Pritzker, 17 F. Supp. 3d 52, 55 (D.D.C. 2014), and “[t]he exercise of this

authority is ‘particularly appropriate’ when a case returns to a court on a motion to enforce

the terms of its mandate to an administrative agency[,]” id. (quoting Int’l Ladies’ Garment

Workers’ Union v. Donavan, 733 F.2d 920, 922 (D.C. Cir. 1984)); see also Bennett, 703

F.3d at 589. “The Court should grant a motion to enforce if a ‘prevailing plaintiff

demonstrates that a defendant has not complied with a judgment entered against it.’” Sierra

Club v. McCarthy, 61 F. Supp. 3d 35, 39 (D.D.C. 2014) (quoting Heartland Hosp. v.

Thompson, 328 F. Supp. 2d 8, 11 (D.D.C. 2004)); see also Pub. Citizen, Inc. v. Dep’t. of

Educ., 292 F. Supp. 2d 1 (D.D.C. 2003) (granting a motion to enforce judgment ordering

the Department of Energy’s compliance with Plaintiff's Freedom of Information Act

request when the Department could not demonstrate that its search for information was

adequate to satisfy the judgment). Crucially, “[s]uccess on a motion to enforce a judgment

gets a plaintiff only ‘the relief to which [Plaintiff] is entitled under [its] original action and

the judgment entered therein.’” Heartland Regional Medical Center v. Leavitt, 415 F.3d

24, 29, 367 U.S. App. D.C. 256 (D.C. Cir. 2005) (citing Watkins v. Washington, 511 F.2d




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404, 406, 167 U.S. App. D.C. 166 (D.C. Cir. 1975)). Thus, if a plaintiff “has received all

relief required by that prior judgment, the motion to enforce [should be] denied.” Heartland

Hosp., 328 F. Supp. 2d at 11.

                                      ARGUMENT

I.      The Court Should Remand the Proceedings to U.S. Immigration and
        Customs Enforcement.

        The Court may, and should, order remand pursuant to the APA. Consistent with the

discretion delegated to ICE by Congress, remand would permit ICE to train its employees,

develop and use its own AORW, and share Age-Out data with Plaintiffs on a monthly basis,

consistent with its efforts to maintain transparency,. The Court should remand for

Defendants to craft procedures consistent with the discretion Congress intended for

substantive judgments. Vermont Yankee, 435 U.S. at 524-25. Defendants’ Proposed Final

Judgment and Remand, attached hereto as Exhibit A, reflects the remedies that Defendants

will implement on remand to comply with § 1232(c)(2)(B) and this Court’s July 2, 2020

Decision. 3
          1F




II.     Plaintiffs’ Proposed Permanent Injunction is Unnecessary.

        Injunctive relief is typically appropriate when “‘there is only one rational course

for the agency to follow on remand.’” Azar, 385 F. Supp. at 11 (quoting Berge, 949 F.

Supp. at 43). Plaintiffs’ proposed permanent injunction, however, goes beyond the scope

of the status quo of the past 18 months and what is permissible under the APA.

        While Defendants must comply with § 1232(c)(2)(B), as explained in this Court’s

July 2, 2020 Decision, there are multiple ways Defendants may develop and implement



3
       Defendants do not assent to the Court’s findings of fact and conclusions of law
and have not waived appeal of any component therein.


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policies, procedures, and tools for doing so. Both parties have proposed feasible

mechanisms to comply with § 1232(c)(2)(B), which demonstrates that no injunction is

necessary or required. See Azar, 385 F. Supp. at 11 (refusing to issue a permanent

injunction because the parties’ briefs showed Defendant agency “ha[d] multiple courses on

remand” to comply with the court’s findings and the agency should decide the response on

remand); see also Palisades Gen. Hosp. Inc. v. Leavitt, 426 F.3d 400, 403 (D.C. Cir. 2005)

(holding that district court did not have jurisdiction to order Defendant agency to

implement specific remedies after finding it acted contrary to law); Tennessee Gas Pipeline

Co. v. F.E.R.C., 926 F.2d 1206, 1214 (D.C. Cir. 1991) (concurrence) (refusing to instruct

agency on remand to implement a specific course of action, as such action is judicially

improper and reserved for “a once-in a decade sort of remedy.”); see also County of Los

Angeles v. Shalala, 192 F.3d 1005, 1011 (D.C. Cir. 1999) (“Once, therefore, the district

court held that the Secretary had misinterpreted [the statute], it should have remanded to

the Secretary for further proceedings consistent with its conception of the statute. Not only

was it unnecessary for the [district] court to retain jurisdiction to devise specific remedy

for the Secretary to follow, but it was error to do so.”); Flaherty, 17 F. Supp. 3d at 57 (“To

order the agency to take specific actions [for an APA remedy] is reversible error.”). The

Court, therefore, should decline to issue a permanent injunction requiring Defendants to

take specific remedial actions on remand without providing Defendants the ability to create

their own remedy.

       Two significant developments over the past 18 months advise strongly against a

permanent injunction. First, the number of Age-Outs detained in FY 2021, at less than one-

half of one percent of the total Age-Out population, is de minimis. Ex. B; supra, at 2.




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Importantly, Plaintiffs have not raised any concerns regarding the four detained Age-Outs

of FY 2021 after receiving ICE SharePoint materials, which included, among other things,

the completed AORW 8/19 and additional background information.

       Second, ICE has demonstrated its path toward compliance with § 1232(c)(2)(B).

See, supra, at 2-4 (discussing: continued use of the AORW 8/19; compliance checks by

ICE Headquarters; monthly reporting of data on Age-Out custody determinations and the

submission of extensive underlying documentation to Plaintiffs’ counsel; and development

of a Nationwide Age-Out Shelter list). Further, the remedies that ICE would adopt to

maintain compliance moving forward are improvements to these existing processes,

namely, providing the field with an updated AORW, Ex. C, ECF No. 345-3, enhanced

training materials agreed upon by the parties, submission of monthly Age-Out data to

Plaintiffs; a commitment to consider organizational sponsors Plaintiffs propose, and

updates to its National Age-Out Shelter List every six months. See Ex. A. 4 2F




       Accordingly, the Court should remand to Defendants to permit them to craft the

proper remedy in the first instance—which Defendants have outlined in the attached

proposed order, see Ex. A—and not order specific actions on remand other than those to

which Defendants consent in Exhibit A. Plaintiffs can challenge under the APA any



4
        Defendant’s motion to publish interim guidance remains fully briefed and pending
with this Court for resolution. See ECF No. 337. As nearly a year has passed since this
Court’s July 2, 2020 Decision, ECF No. 333, Defendants believe it would be beneficial to
notify the field of the specific findings of fact and conclusions of law from that Decision,
to inform the field that significant training will be forthcoming, and to reiterate the prior-
issued broadcast regarding the use of the RCA. Specifically, the guidance (which would be
effective immediately upon dissemination after the Court’s approval) reiterates not to use
the RCA for age-out detention decisions, to contact JFRMU prior to detaining any age-out,
and that JFRMU may review certain cases of detained age outs. It also is the transmittal of
the Court’s complete findings and conclusions. ECF No. 333.



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remedy they believe is improper or otherwise insufficient. See Bennett, 703 F.3d at 589

(recognizing that if plaintiffs prevailed on the merits in the district court “but were

dissatisfied with [the agency’s] remedy, they would always have the option to seek review

on the ground that [the agency’s] actions were ‘arbitrary, capricious, and abuse of

discretion, or otherwise not in accordance with the law.’”) (quoting 5 U.S.C. § 706 (2)(A));

see also Shands Jacksonville Med. Ctr., Inc. v. Azar, 959 F.3d 1113, 1118 (D.C. Cir. 2020)

(reinforcing that plaintiffs could challenge Defendant agency’s remedy under the APA if

it believed it was contrary to law).

III.     The Court Should Permit Defendants to Use Their Proposed AORW on
         Remand.

         The Court should deny Plaintiffs’ request to limit Defendants’ proposed AORW’s

use for a trial period of six months. ECF No. 359 at 3; see ECF No. 345-3. In enacting

§ 1232(c)(2)(B), Congress did not require ICE to create an AORW for each Age-Out

custody determination; instead, the AORW is a tool that ICE created, in its discretion, to

assist the FOJCs to document their Age-Out custody decision-making process and reflect

compliance with § 1232(c)(2)(B). In fact, this is the type of procedural requirement that

the Supreme Court has stated a district court may not graft onto the APA. See Ming Dai,

141 S. Ct. at 1669; see also Vermont Yankee, 435 U.S. at 524. This Court should preclude

Plaintiffs from imposing a temporal limit on Defendants’ use of their proposed AORW. 5   3F




         Further, “revisions” would only be necessary if Plaintiffs can demonstrate

Defendants’ revised AORW (once fully implemented) fails to comply with the statute and




5
       The parties’ motions regarding the competing AORWs are before this Court as ECF
Nos. 345, 347, and 351.



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this Court’s July 2, 2020 Decision. Indeed, Defendants believe that the revised, proposed

AORW is an improvement on the AORW 8/19 currently used by FOJCs.6 Allowing ICE
                                                                            4F




to use their own AORW is more compelling, considering that it has designed

comprehensive training and implemented better quality control, consisting of JFRMU’s

reviews of custody determinations to place Age-Outs on ATD, issue an ICE Bond, or

detain, and because ICE has been providing, and will continue to provide, to Plaintiffs

extensive information regarding each Age-Out. Finally, the Court should permit

Defendants to implement ICE’s proposed AORW on remand, without temporal limitation,

because it is an improvement on AORW 8/19 and is more consistent with the training

materials that the parties have agreed upon (discussed below).

IV.     The Court Should Permit ICE to Consider Organizational Sponsors Proposed
        by Plaintiffs and Work Independently to Update its National Age-Out Shelter
        List Every Six Months.

        As Plaintiffs note, the parties previously developed a Nationwide Age-Out Shelter

List that FOJCs may utilize when making custody determinations and determining which

organizational sponsors are available to Age-Outs. Plaintiffs now ask this Court to require

Defendants “to provide an explanation for the reason(s) for their objection” to every

organizational sponsor that Plaintiffs’ propose for inclusion in the Nationwide Age-Out

Shelter List. Plaintiffs also demand the ability to challenge any organizational sponsor that

Defendants elect to exclude from the list. The APA, however, does not permit Plaintiffs to

dictate or challenge Defendants’ exercise of agency discretion. See 5 U.S.C. § 701(a)(2);




6
        Even though concerns regarding AORW 8/19 were raised at trial, in the almost two
years since its roll-out, FOJCs have continued to use AORW 8/19 as a guide to document
their compliance with § 1232(c)(2)(B), without issue, as discussed at the December 2020
hearing. See Transcript of Status Conference (Dec. 16, 2020) at 11-13.


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see also Dist. No. 1, Pac. Coast Dist., Marine Engineers’ Beneficial Ass’n v. Mar. Admin.,

215 F.3d 37, 43 (D.C. Cir. 2000) (“In the absence of any statutory or self-imposed

limitation, we have no jurisdiction to review under the APA an agency's procedural

decision regarding how best to make a substantive decision committed by law to the

agency's discretion.”); Freedom Watch, Inc. v. McAleenan, 442 F. Supp. 3d 180, 199

(D.D.C. 2020) (Contreras, J.) (“Unless there is ‘law’ to apply in judging how and when an

agency should exercise its discretion, APA § 701(a)(2) ‘bars judicial review’ of an agency's

(in)action”).

       There is no statutory requirement that Defendants create and maintain a National

Age-Out Shelter List. See 8 U.S.C. § 1232(c)(2)(B). This Court determined that, pursuant

to § 1232(c)(2)(B), FOJCs must know what settings are generally available, or “obvious,”

to consider them, but not “every alternative . . . conceivable.” See ECF No. 333 at 158. In

response, Defendants created the National Age-Out Shelter List, with Plaintiffs’

collaboration, as a reference tool and guide to assist FOJCs in identifying what

organizational sponsors are generally, or obviously, available to Age-Outs across the

country. During the initial collaboration, Plaintiffs proposed several organizational

sponsors to ICE they believed should be added to the list. ICE, in exercising its discretion,

added most, but not all, of these proposed organizational sponsors to the list. ICE further

provided Plaintiffs with the reasons why those specific proposed organizational sponsors

were not added—despite no legal requirement to provide such an explanation. The

explanation required significant resources and coordination within ICE. Requiring ICE to

continue to undertake these additional efforts is unnecessary, particularly where Plaintiffs

are not restricted in the frequency or number of organizational sponsors they can propose




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to Defendants. Notwithstanding, ICE anticipates that it may provide Plaintiffs with the

reasons why certain proposed organizational sponsors are not included on the National

Age-Out Shelter List moving forward, but expending these resources should be within

ICE’s discretion and not mandated by this Court.

       Further, Plaintiffs’ argument that this requirement is necessary to prevent ICE from

returning to a past behavior of “reject[ing] potential organizational sponsors without any

legitimate bases . . . and/or based on an inaccurate or pretextual reason” is misplaced and

not representative of ICE’s current Age-Out custody determination process. ECF No. 359

at 5. ICE’s current process is, in effect, outlined within the agreed-upon training slides and

PowerPoint presentation, which ICE intends to maintain moving forward. ICE’s decision

to place an organizational sponsor on the National Age-Out Shelter List as part of a

reference tool for FOJCs is patently distinguishable from an FOJC considering the

availability of a specific organizational sponsor during an Age-Out’s custody

determination process, particularly where the training slides instruct FOJCs to contact at

least five organizational sponsors from the list before determining that no organizational

sponsor is available.

       Plaintiffs’ argument is also undermined by their intention to create their own

national shelter list for immigration attorneys representing Age-Outs. Defendants support

this effort because ICE’s National Age-Out Shelter List is not exhaustive, and an Age-

Out’s attorney or advocate can always request that ICE consider placement of an Age-Out

with a specific organizational sponsor, regardless of whether that organizational sponsor

appears on ICE’s National Age-Out Shelter List. And nothing precludes FOJCs from

reviewing Plaintiffs’ list in conjunction with ICE’s National Age-Out Shelter List, unless




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Plaintiffs elect not to share their list. But just as Plaintiffs’ counsel may decide which

organizational sponsors to include on their list, ICE retains its discretion to do the same.

Similarly, ICE intends to post the National Age-Out Shelter List on its internal website,

accessible by all FOJCs, so Plaintiffs’ request that each ICE AOR maintain their own

organizational shelter list is repetitive and unnecessary.

       At bottom, just as it did previously, ICE will consider any organizational sponsors

that Plaintiffs propose for their National Age-Out Shelter List. ICE will also update its

National Age-Out Shelter List every six months and ensure it is accessible to all FOJCs.

See Ex. A. But this Court should not require Defendants to explain every exercise of

discretion to include organizational sponsors, nor should this Court permit Plaintiffs to

challenge Defendants’ discretion in contravention of the APA.

V.     Plaintiffs Should Consult ICE or File Motions to Enforce to Resolve Disputes
       of Alleged Violations.

       Under the APA, Plaintiffs are not entitled to receive advance notice of, review, or

object to, “any proposed revisions to the revised policy guidance and training materials

agreed upon by the parties.” ECF No. 359 at 2. Ordering otherwise would go beyond the

relief permitted under the APA. 5 U.S.C. § 706; see Ming Dai, 141 S. Ct. at 1669; see

Vermont Yankee, 435 U.S. at 524. Defendants appreciate that potential disputes could arise,

but Plaintiffs may raise their concerns with ICE at any time. 7 They also may file a motion
                                                              5F




to enforce should they seek additional action from the Court. Therefore, the Court should



7
        The parties have not yet engaged in any litigation related to Plaintiffs’ forthcoming
Equal Access to Justice Act (“EAJA”) motion for fees. Defendants suggest that the parties
table any issues related to fees for past work or future “monitoring” by Plaintiffs until
Plaintiffs file their EAJA motion, as this is unrelated to any injunction or remand that this
Court may order.


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deny Plaintiffs’ request for advance notice of proposed revisions to policy guidance and

training materials.

                                   CONCLUSION

       For the forgoing reasons, the Court should remand the proceedings to the agency

and deny Plaintiffs’ request for a permanent injunction. Instead, the Court should issue

Defendants’ Proposed Final Judgment and Remand. Ex A.


DATE: July 1, 2021                                 Respectfully submitted,

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